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    ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
                    (FOR NO. 25-1569)
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Other Pending Cases (continued from page 2):

Case Name:         Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
D.C. Docket No.:   1:24-cv-4037-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1555

Case Name:         Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
D.C. Docket No.:   1:24-cv-4041-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1556

Case Name:         Atlas Data Privacy Corp., et al v. The People Searchers, LLC
D.C. Docket No.:   1:24-cv-4045-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1557

Case Name:         Atlas Data Privacy Corp., et al v. Deluxe Corp., et al.
D.C. Docket No.:   1:24-cv-4080-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1559

Case Name:         Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
D.C. Docket No.:   1:24-cv-4098-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1560

Case Name:         Atlas Data Privacy Corp., et al v. Yardi Sys., Inc., et al.
Docket No.:        1:24-cv-4103-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1561

Case Name:         Atlas Data Privacy Corp., et al v. Digital Safety Prods., LLC
D.C. Docket No.:   1:24-cv-4141-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1562




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Case Name:         Atlas Data Privacy Corp., et al v. Civil Data Research
D.C. Docket No.:   1:24-cv-4143-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1563

Case Name:         Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.:   1:24-cv-4160-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1564

Case Name:         Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
Docket No.:        1:24-cv-4174-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1565

Case Name:         Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.:   1:24-cv-4176-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1566

Case Name:         Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.:   1:24-cv-4178-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1567

Case Name:         Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
D.C. Docket No.:   1:24-cv-4256-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1568

Case Name:         Atlas Data Privacy Corp., et al v. DM Group, Inc.
Docket No.:        1:24-cv-4075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1558

Case Name:         Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.:   1:24-cv-4269-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1570




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Case Name:         Atlas Data Privacy Corp., et al v. Melissa Data Corp., et al.
D.C. Docket No.:   1:24-cv-4292-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1571

Case Name:         Atlas Data Privacy Corp., et al v. Restoration of America, et al.
D.C. Docket No.:   1:24-cv-4324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1572

Case Name:         Atlas Data Privacy Corp., et al v. i360, LLC, et al.
Docket No.:        1:24-cv-4345-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1573

Case Name:         Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.:   1:24-cv-4380-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1574

Case Name:         Atlas Data Privacy Corp., et al v. Accuzip, Inc.
D.C. Docket No.:   1:24-cv-4383 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1575

Case Name:         Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
D.C. Docket No.:   1:24-cv-4385-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1576

Case Name:         Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc..
Docket No.:        1:24-cv-4389-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1577

Case Name:         Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.:   1:24-cv-4390-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1578




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Case Name:       Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.: 1:24-cv-4392-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1579

Case Name:       Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.: 1:24-cv-4434-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1580

Case Name:         Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
Docket No.:        1:24-cv-4609-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1581

Case Name:         Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.:   1:24-cv-4664-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1582

Case Name:         Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.
D.C. Docket No.:   1:24-cv-4949-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1583

Case Name:         Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.:   1:24-cv-5600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1584

Case Name:         Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
Docket No.:        1:24-cv-5656-MB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1585

Case Name:         Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.:   1:24-cv-5658-MB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.         25-1586




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Case Name:         Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:   1:24-cv-5775-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1587

Case Name:         Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:   1:24-cv-7324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1588

Case Name:         Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
Docket No.:        1:24-cv-8075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1589

Case Name:         Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:   1:24-cv-8451-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1590

Case Name:         Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:   1:24-cv-10600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1591

Case Name:         Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:   1:24-cv-11023-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1592

Case Name:         Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:   1:24-cv-11443-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1593




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